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                                        1    David W. Meadows (CA Bar No. 137052)
                                             LAW OFFICES OF DAVID W. MEADOWS
                                        2    1801 Century Park East, Suite 1201
                                        3    Los Angeles, California 90067
                                             Telephone: 310-557-8490
                                        4    david@davidwmeadowslaw.com
                                        5    Counsel to Movant, Packo Investments, Inc., as Assignee of
                                        6    Mohamed Sanfaz, and Assignee of The Bae Family Trust

                                        7
                                                                        UNITED STATES BANKRUPTCY COURT
                                        8
                                                                         CENTRAL DISTRICT OF CALIFORNIA
                                        9
                                       10                                        LOS ANGELES DIVISION

                                       11
                                            In re:                                        Case Number 2:23-bk-12747-VZ
                                       12
L AW O FFICES OF D AVID W. M EADOW S




                                            JONG UK BYUN,                                 Chapter 11
     L OS A N GELES , C ALIFOR NIA




                                       13
                                       14            Debtor and Debtor in Possession      MOTION TO CONVERT CHAPTER 11
                                                                                          CASE TO CASE UNDER CHAPTER 7 OF
                                       15
                                                                                          THE BANKRUPTCY CODE;
                                       16                                                 MEMORANDUM OF POINTS AND
                                                                                          AUTHORITIES IN SUPPORT THEREOF;
                                       17                                                 DECLARATION OF DAVID W. MEADOWS
                                       18                                                 IN SUPPORT THEREOF

                                       19                                                 Hearing:
                                       20                                                 Date: December 12, 2023
                                       21                                                 Time: 11:00 a.m.
                                                                                          Place: Courtroom 1368
                                       22                                                        255 E. Temple Street
                                                                                                 Los Angeles, CA 90012
                                       23
                                       24
                                       25
                                       26
                                       27
                                       28                                                    1
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                                        1   TO THE HONORABLE VINCENT P. ZURZOLO, TO THE DEBTOR AND DEBTOR IN
                                        2   POSSESSION, AND TO INTERESTED PARTIES:
                                        3
                                                   Movant Packo Investments, Inc., as Assignee of The Bae Family Trust and as Assignee of
                                        4
                                            Mohamad Sanfaz (collectively, “Movants”), each being secured creditors of the Debtor, hereby move
                                        5
                                        6   this Court for an order converting the chapter 11 case of Jong Uk Byun, an individual, debtor and debtor

                                        7   in possession (the “Debtor”) to a case under Chapter 7 of the Bankruptcy Code. This Motion is
                                        8
                                            supported by the Memorandum of Points and Authorities that follows below, the attached Declaration of
                                        9
                                            David W. Meadows, and the exhibits attached thereto and incorporated therein, the separately filed and
                                       10
                                            served Notice of Motion, and all related pleadings on file.
                                       11
                                       12                          MEMORANDUM OF POINTS AND AUTHORITIES
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                                       13                                                      I.
                                       14                                           MOTION SUMMARY
                                       15          The Motion is brought pursuant to Bankruptcy Code Section 1112(b), requesting that the Court
                                       16
                                            convert the case to one under Chapter 7 of the Bankruptcy Code. The Motion is brought “for cause”
                                       17
                                            under Section 1112(b)(1) of the Bankruptcy Code based on the following.
                                       18
                                       19                                                     II.

                                       20                                         STATEMENT OF FACTS

                                       21          1.      On May 4, 2023, the Debtor filed his most fourth and most recent bankruptcy petition, In
                                       22   re Jong Uk Byun, case number 2:23-bk-12747-VZ.
                                       23
                                                   2.       On September 22, 2023, the Court entered its “Order Granting Motion to Approve
                                       24
                                            Adequacy of Disclosure Statement” (the “Disclosure Statement Order”) (Dkt. 122). The Disclosure
                                       25
                                       26   Statement Order approved the Disclosure Statement on account of the Debtor’s “Amended Disclosure

                                       27   Statement and Plan (the “First Amended DS and Plan”) (Dkt. 118) and established related dates and
                                       28                                                       2
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                                        1   deadlines for further briefing relating to the confirmation of the Debtor’s Plan. At Section 5, b. 4 of the
                                        2   Disclosure Statement Order, it was ordered that: “Preliminary Objections: (Date) November 3, 2023 is
                                        3
                                            the deadline for claimants and other parties in interest to file and serve a preliminary objection to
                                        4
                                            confirmation of the Plan.”
                                        5
                                        6          3.      Pursuant to the Disclosure Statement Order, Packo filed and served the “Preliminary

                                        7   Objection by Packo Investments, Inc. as Assignee of The Bae Family Trust and Assignee of Mohamad
                                        8
                                            Sanfaz to Confirmation of Chapter 11 Plan; Declaration of Allen Park and Declaration of David W.
                                        9
                                            Meadows in Support thereof” (the “Preliminary Objection”) (Dkt. 129) on October 31, 2023. On
                                       10
                                            November 3, 2023, Packo filed an “Errata” to the Preliminary Objection to correct a mathematical error
                                       11
                                       12   in presenting the Plan payments (Dkt. 131).
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                                       13          4.       At Section 5, b, 5, of the Disclosure Statement Order, it was ordered that: Motion to
                                       14
                                            Confirm Plan: (Date) November 17, 2023 is the deadline for the Debtor to file and serve a Motion to
                                       15
                                            Confirm Plan. The Debtor must use this court’s form titled: “VZ CH11.MOTION.PLAN, which must be
                                       16
                                       17   supported by a declaration as to the level at which the Plan is accepted.”

                                       18          5.       On November 17, 2023, the Debtor filed and served its Notice of Motion and Motion to
                                       19   Confirm Plan of Reorganization of Debtor” (the “Confirmation Motion”) (Dkt. 134).
                                       20
                                                                                               III.
                                       21
                                                                                          ARGUMENT
                                       22
                                                   A.      “Cause” Exists to Convert the Case to a Case under Chapter 7 of the Bankruptcy
                                       23
                                                           Code, Pursuant to Bankruptcy Code Section 1112(b)(1)
                                       24
                                       25          The Ninth Circuit Court of Appeal in In re Baroni, 36 F.4th 958 (9th Cir. 2022) (“Baroni’) set out

                                       26   the standard for analysis of dismissal or conversion of a chapter 11 case to a case under Chapter 7 of the
                                       27
                                       28                                                         3
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                                        1   Bankruptcy Code, pursuant to Bankruptcy Code Section 1112.
                                        2                  The standard for converting a Chapter 11 case to Chapter 7 is set out in 11 U.S.C.
                                        3                  § 1112. This statute provides that the bankruptcy court "shall convert a case under
                                                           this chapter to a case under chapter 7 or dismiss a case under this chapter,
                                        4                  whichever is in the best interests of creditors and the estate, for cause." 11 U.S.C.
                                                           § 1112(b)(1).
                                        5
                                        6   36 F.4th at 965.

                                        7
                                                    “Cause” includes any of the factors set out in Section 1112(b)(4), but does not require that one
                                        8
                                            of the sub-part (b)(4) is met. 1 “Cause” under § 1112(b) is not limited to the statutory examples found in
                                        9
                                       10   § 1112(b)(4).” In re Wahlin, 2011 Bankr. LEXIS 1134, fn. 6 (Bankr. D. Idaho 2011). See also Marsch

                                       11   v. Marsch (In re Marsch), 36 F.3d 825, 828 (9th Cir. 1994) Bankruptcy Code Section 102, Rules of
                                       12
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                                            Construction, provides at Section 102(3) that “includes” and “including” are not limiting. 11 U.S.C. §
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                                       13
                                            102.
                                       14
                                                    1.     The Debtor Impliedly Admits that a Chapter 7 Trustee Will Promptly Retain a Real
                                       15
                                       16                  Estate Broker to List Sufficient of the Debtor’s Real Property Assets for Sale

                                       17                  Whereas the Debtor Will Not.
                                       18
                                                   Consistently during the case, the Debtor has represented in declarations made under penalty of
                                       19
                                            perjury that “he is presently” retaining a loan broker and listing two of his properties for sale. He has
                                       20
                                            provided evidence of neither. The Debtor states in his declaration made in support of the Confirmation
                                       21
                                       22
                                       23
                                       24
                                       25   1
                                                    The failure of the Debtor to respond to the issues raised in Packo’s Preliminary Objections in the
                                            Debtor’s Motion to Confirm is a failure by the Debtor to comply with the Court’s Disclosure Statement
                                       26
                                            Order and thus satisfies Bankruptcy Code Section 1112(b)(4)(E) (failure to comply with an order of the
                                       27   court). The only partial responses are made in the Declaration of the Debtor and do not address the
                                            legal issues raised in the Preliminary Objection.
                                       28                                                         4
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                                        1   Motion that he has “received at least one offer for financing an amount enough to pay the claims in
                                        2   [the] bankruptcy estate.” He attaches as evidence portions of documents as Exhibit A to his
                                        3
                                            declaration incorporated in the Confirmation Motion. (See Confirmation Motion, Dkt. 134, page 24 of
                                        4
                                            37 and pages 26 – 32; see also Exhibit 4 to the attached Meadows Decl.) Exhibit A is evidence of no
                                        5
                                        6   such thing.

                                        7          x       The offer is merely an offer by a loan broker, Logan Investments, to attempt to obtain
                                        8
                                            financing. (2nd bullet, top of page 28 of 37: “Agreement to Procure Lender”)
                                        9
                                                   x       At page 29 of 37 of Exhibit A, where the Lender is to be identified, the document states
                                       10
                                       11   “TO BE DETERMINED.”

                                       12          x       The alleged offer is not signed by the Debtor but was signed by the loan broker, Mr. Ron
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                                       13   L. Sentchuk, on August 2, 2023. This means the Debtor has had this “offer,” really just a proposal by a
                                       14
                                            loan broker to go and seek financing, since August, 2023 and yet the Debtor has not signed it, much less
                                       15
                                            filed a motion for approval of any actual financing.
                                       16
                                       17          x       The alleged offer by the loan broker is to obtain a $7,000,000 loan, at 12.5% interest, all

                                       18   due and payable in one year, with $665,000 mortgage broker commission fee. The Debtor provides no
                                       19
                                            evidence to establish why the Debtor will qualify for such a loan, or how it would be sufficient to pay
                                       20
                                            the total claims in the Estate of $8,919,957.17, as stated in the DS and Plan, Dkt. 118, page 32 of 76.
                                       21
                                       22          x       At page 28 or 37, the “Offer” states that it is subject to a “Loan Application (to be fully

                                       23   completed signed and dated by all signors) on each property. Notably, despite having had this broker
                                       24   offer by Logan Investments since August 2, 2023, the Debtor does not attach any of the required Loan
                                       25
                                            Applications or state that they have been provided or even completed.
                                       26
                                       27
                                       28                                                          5
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                                        1             In sum, although the Debtor has made the statement under penalty of perjury that he has
                                        2   “received an offer for financing,” the accurate statement is that since August, 2023, he has had only an
                                        3
                                            offer by a broker to attempt to locate a lender. The Logan Investments document attached as Exhibit A
                                        4
                                            to the Byun Declaration is not whatsoever evidence of a financing offer.
                                        5
                                        6             The Debtor repeatedly has represented that he is retaining not only a loan broker, but also that he

                                        7   is concurrently listing two of his real estate assets for sale. 2   The Debtor has never explained why he
                                        8
                                            had not signed a loan broker application or retained real estate brokers prior to his latest petition for
                                        9
                                            relief. The Debtor easily could have retained a real estate broker post-petition and certainly between
                                       10
                                            July 10, 2023, the date of his first declaration cited below, and today. Moreover, even though the
                                       11
                                       12   Debtor’s continuing failure to retain the promised real estate brokers was pointed out in Packo’s October
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                                       13
                                       14
                                       15
                                            2
                                       16          His statements made to the Court include the following affirmative representations of retaining a
                                            loan and real estate broker:
                                       17
                                                “I am retaining a loan broker to arrange a loan         Supplemental Declaration of Jong Uk Byun in
                                       18
                                                secured by my real estate assets . . . .                Support of Oppositions to Motions for Relief
                                       19       Simultaneously, I am also listing two of my real        from Stay and to Dismiss or Convert filed by Bae
                                                estate assets for sale[.]”                              and Sanfaz (Dkt 66, para. 3, pg. 2 of 5 (7/10/23)
                                       20
                                       21       Same declaratory statement.                             Disclosure Statement and Plan of Reorganization,
                                                                                                        Dkt. 67, para. 11, page 27 of 75 (7/11/23)
                                       22
                                                Same declaratory statement.                             Supplemental Declaration in Support of
                                       23                                                               Opposition to Motion for Relief from the
                                       24                                                               Automatic Stay Under 11 U.S.C. § 362 Filed by
                                                                                                        Creditors Adjustment Bureau; Dkt. 95, para. 3,
                                       25                                                               page 2 of 5. (8/01/23)
                                       26
                                                Same declaratory statement.                             Plan, Dkt. 118, para. 11, page 27 of 76.
                                       27
                                       28                                                           6
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                                        1   31, 2023 Preliminary Objection, the Debtor has still chosen not to retain a real estate broker in the
                                        2   intervening three weeks.     The Debtor has provided no evidence of actually listing two of his properties
                                        3
                                            for sale, identifying the properties, stating the sale prices, or made the required application to approve
                                        4
                                            the retention of a broker.   In the Preliminary Objection, Packo expressly argues that the failure of the
                                        5
                                        6   Debtor to retain a broker after repeated representations that he would do so, constituted implied evidence

                                        7   that the Debtor would not do so after confirmation of the Plan. The absence of the action by the Debtor
                                        8
                                            – an action that has been wholly within his control, provides a reasonable inference that the Debtor will
                                        9
                                            not do so after confirmation of the Plan. By now, accepting, arguendo, the Debtor’s valuation of his
                                       10
                                            properties, sufficient properties could have been sold to pay all creditors in full, with less interest
                                       11
                                       12   accruing on both secured and unsecured claims.
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                                       13          Instead of filing an application to retain a broker after the Debtor’s receipt of the Preliminary
                                       14
                                            Objection, the Debtor has merely refiled the same property valuation declarations by the Debtor’s real
                                       15
                                            property appraiser, Mr. Caleb Halverson, attaching the same declarations that already were in evidence
                                       16
                                       17   when they were incorporated as Exhibits to the Debtor’s Disclosure Statement. 3 What these refiled

                                       18   declarations demonstrate according to Mr. Halverson is that the Debtor’s real property portfolio is worth
                                       19   $23 million dollars. While the Debtor has provided no evidence at all that he actually will hire a real
                                       20
                                            estate broker or that he has listed any of his properties for sale, the Debtor has filed declaratory
                                       21
                                       22
                                       23
                                       24
                                            3
                                                   On November 13, 2023, the Debtor filed the “Declaration of Caleb Halverson Regarding
                                            Appraisal for Property Located at 1746 East 22nd Street (Dkt 132), signed by Mr. Halverson on June 24,
                                       25   2023. This same declaration is attached to the DS as part of Exhibit “1,” at page 59 of 76. Likewise,
                                            on November 13, 2023, the Debtor filed the “Declaration of Caleb Halverson Regarding Appraisal for
                                       26
                                            Property Located at 1736 East 244th Street, 2203-2245 Alameda Street” (Dkt 133), signed by Mr.
                                       27   Halverson on June 24, 2023. This same declaration is attached to the DS as Exhibit F,” at page 50 of 76.
                                            The Halverson declarations filed on November 13, 2023 were already in the record and add nothing.
                                       28                                                      7
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                                        1   evidence by Mr. Halverson to demonstrate why a chapter 7 trustee would be expected to promptly
                                        2   do what the Debtor refuses to do. The Debtor has no evidence or basis to assert that a chapter 7
                                        3
                                            trustee would necessarily attempt to sell any more properties than necessary to satisfy creditor claims
                                        4
                                            and capital gain tax.
                                        5
                                        6          2.      The Debtor Has Waived a Response and Impliedly Admits that the Debtor’s Plan

                                        7                  Elevates the Debtor’s Interests Above the Interests of Creditors.
                                        8
                                                   The Packo Preliminary Objection set out in detail the math of the Debtor’s proposed Plan.
                                        9
                                            Shown by a detailed Excel schedule attached as Exhibit 3 to the Preliminary Objection, Packo
                                       10
                                            demonstrated how the Plan provides for the Debtor to retain for his own use $1,269,131.68 over the first
                                       11
                                       12   year after the Effective Date of the Plan, even if the Debtor never refinances or sells any of his
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                                       13   properties, and the only creditors to receive anything are the secured creditors who are to receive interest
                                       14
                                            only payments during the twelve (12) month period of the Plan.       As set forth in the Preliminary
                                       15
                                            Objection (and as corrected in the Errata version), as detailed in the Declaration of David W. Meadows
                                       16
                                       17   to the Preliminary Objection, and in Exhibit 3 to the Preliminary Objection, all of which are attached

                                       18   hereto collectively as Exhibit 1, the Plan math establishes the following:
                                       19          $883,540.00:      The accumulated cash held by the Debtor as of the Debtor’s projected Effective
                                       20                            Date of March, 2024, as estimated by the Debtor in the Plan.

                                       21          $78,990.00:       Projected monthly rental income.
                                       22          $46,857.36:       Projected monthly Plan payments.
                                       23
                                                   $32,132.64:       Monthly surplus the Debtor retains under the Plan.
                                       24
                                                   $1,831,420:       Sum of Effective Date cash plus the rental income for the twelve (12) month
                                       25
                                                                     period of the Plan.
                                       26
                                                   $562,288.32:      Total Plan payments, including Effective Date payments, for the twelve (12)
                                       27                            month period of the Plan.
                                       28                                                        8
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                                        1
                                                   $1,269,131.68     Total cash the Debtor retains at the end of the twelve (12) month period of the
                                        2                            Plan, even if the Debtor fails to refinance and/or fails to sell property sufficient
                                        3                            to finance the Plan. In the event of default by the Debtor under the Plan,
                                                                     creditors receive none of those funds while the Debtor retains nearly
                                        4                            $1,300,000.
                                        5          The math demonstrates why the Debtor has not retained a loan broker or a real estate broker: he
                                        6
                                            has no intention to do so. The Debtor instead intends to merely keep nearly $1,300,000 of cash under
                                        7
                                            the Plan, and worry about foreclosure down the road, at or about the one-year mark after the Effective
                                        8
                                        9   Date of the Plan.    In contrast, given the valuations evidenced by Mr. Halverson in support of the

                                       10   Debtor’s Motion to Confirm, a chapter 7 trustee will readily retain a broker and sell enough of the
                                       11
                                            properties to pay everyone in full, with interest.   More importantly in terms of the best interests of
                                       12
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                                            creditors, if the Trustee is unable to sell the properties (or refinance them), and Packo then forecloses, it
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                                       13
                                       14   is possible that there will be bidding and overbidding at a foreclosure sale.    Packo is only entitled to be

                                       15   made whole. If made whole as a result of foreclosure sale bidding, the cash held by the Debtor will be
                                       16   subject to a claim by the Trustee on behalf of the estate. Under the Plan, even if the Debtor fails to sell
                                       17
                                            or refinance the properties, well over $1 million will have been retained by the Debtor and presumably
                                       18
                                            be gone and no longer available to satisfy creditor claims.
                                       19
                                       20          The presentation of how the Plan provides for income, disbursements, and retention of cash for

                                       21   the benefit of the Debtor demonstrates that the Debtor is putting his interests above those of creditors.
                                       22   The demonstration is unrebutted by the Debtor.       Whether the confirmation of the Plan enables the
                                       23
                                            Debtor to use the funds, as raised in Packo’s Preliminary Objection, is not rebutted or denied by the
                                       24
                                            Debtor in its Confirmation Motion.      Where the Disclosure Statement Order required creditors and
                                       25
                                       26   parties in interest to file and serve preliminary objections to the Plan, and for the Debtor thereafter to file

                                       27   and serve its motion to confirm the Plan, the reasonable understanding of the Court’s Disclosure
                                       28                                                         9
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                                        1   Statement Order was that the Debtor would address the timely made objections and do so in the
                                        2   Debtor’s Confirmation Motion. The Debtor chose not to, as no mention of the above issues is made in
                                        3
                                            the Confirmation Motion. Regardless, the lack of a response is reasonably interpreted as an admission
                                        4
                                            by the Debtor that the presentation of the math is correct in all respects, including its implications for
                                        5
                                        6   whose interests the Debtor’s Plan puts first. 4

                                        7                                                        IV.
                                        8
                                                                                          CONCLUSION
                                        9
                                                   “Cause,” like the terms “good faith” “bad faith” are terms that lack specific definitions in either
                                       10
                                            the Bankruptcy Code or outside of bankruptcy practice. The terms are conclusions, labels applied after
                                       11
                                       12   evaluating and judging a particular set of facts. The facts in this case, demonstrate that the Debtor is
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                                       13   putting his own interest ahead of his creditors. As debtor in possession, the Debtor was given an
                                       14
                                            opportunity to put his creditors first. He could have done so by promptly retaining a real estate broker
                                       15
                                            and listing for sale only those properties necessary to satisfy creditor claims.    Instead, not only has he
                                       16
                                       17
                                       18
                                       19
                                                   4
                                       20                   In the Confirmation Motion, the Debtor made no response to any of the substantive,
                                            confirmation issues raised by Packo in its Preliminary Objection, such as the Plan unilaterally modifying
                                       21   the Bae and Sanfaz post-Effective Date interest rate, or the effect of confirmation on the interest rate in
                                            the event of post-confirmation default, or the numerous other issues raised in the Preliminary Objection.
                                       22
                                            The Disclosure Statement Order does not expressly state that the purpose of ordering claimants and
                                       23   other parties in interest to file and serve preliminary objections to the Plan is for the Debtor to address
                                            those preliminary objections in a debtor’s confirmation motion, but it should be not be necessary for the
                                       24   order to so state. Otherwise, the filing and serving of preliminary objections would be meaningless; no
                                            purpose would be served by it or by the Court ordering preliminary objections to confirmation be filed
                                       25
                                            by a date certain. Packo has no concept of why the Debtor did not address any of the issues raised in
                                       26   the Packo’s Preliminary Objection, except for this: the Debtor impliedly admits the validity of each and
                                            every objection and has no valid response to any of them.
                                       27
                                       28                                                        10
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                                        1   not done so, he has proposed a plan that intends to sweep over a million in cash for his own benefit rather
                                        2   than paying it to creditors (a plan provision that the Confirmation Motion does not address), even if the
                                        3
                                            Debtor never refinances or sells any of his properties. These issues, among others, were set out in detail
                                        4
                                            in the Preliminary Objection, served several days prior to the deadline by Packo.          None of Packo’s
                                        5
                                        6   contentions regarding good faith and the best interests of creditors are responded to by the Debtor in the

                                        7   Motion to Confirm. Rebuttals should be deemed waived and the allegations admitted.
                                        8
                                                   Regardless, the facts demonstrate that it is in the best interests of creditors to convert the Debtor’s
                                        9
                                            chapter 11 case, enabling a trustee to do what the Debtor has chosen not to do, namely to put the interests
                                       10
                                            of creditors ahead of himself.
                                       11
                                       12   DATED: November 20, 2023                              THE LAW OFFICES OF DAVID W. MEADOWS
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                                       13
                                       14
                                                                                          By:             /s/ David W. Meadows
                                       15                                                                 David W. Meadows
                                       16                                                 Counsel to Movant Packo Investments, Inc., as Assignee of
                                       17                                                 Mohamed Sanfaz, an individual.

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                                        1                                    DECLARATION OF DAVID W. MEADOWS
                                        2
                                                    I, David W. Meadows, declare as follows:
                                        3
                                                    1.      I am over 18 years of age. If called as a witness, I could and would testify to the matters
                                        4
                                        5   set forth in this declaration.

                                        6           2.      Attached as Exhibit 1 is a true and correct copy of Packo’s Preliminary Objection (Errata
                                        7
                                            version) (Dkt. 131).
                                        8
                                                    3.      Attached as Exhibit 2 is a true and correct copy of the Court’s Order Granting Motion to
                                        9
                                       10   Approve Adequacy of Disclosure Statement (Dkt. 122)

                                       11           4.       Attached as Exhibit 3 is a true and correct copy of the Debtor’s Motion to Confirm
                                       12   Chapter 11 Plan (Dkt. 134).
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                                       13
                                                    5.      Attached as Exhibit 4 is a true and correct copy of Exhibit A to the Debtor’s Motion to
                                       14
                                            Confirm, consisting of the loan broker documents of Logan Investments, with highlighting added.
                                       15
                                       16
                                       17           I declare under penalty of perjury under the laws of the United States of America that the foregoing
                                       18   is true and correct.
                                       19
                                                    This declaration is being executed this 20th day of November, 2023, in Los Angeles, California.
                                       20
                                       21
                                       22                                                         /s/ David W. Meadows
                                                                                                  David W. Meadows
                                       23
                                       24
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                                       28                                                       12
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                               EXHIBIT 1
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                                        1    David W. Meadows (CA Bar No. 137052)
                                             LAW OFFICES OF DAVID W. MEADOWS
                                        2    1801 Century Park East, Suite 1201
                                        3    Los Angeles, California 90067
                                             Telephone: 310-557-8490
                                        4    david@davidwmeadowslaw.com
                                        5    Counsel to Packo Investments, Inc., as Assignee of
                                        6    Mohamed Sanfaz, and Packo Investments, Inc. as Assignee
                                             of The Bae Family Trust
                                        7
                                                                        UNITED STATES BANKRUPTCY COURT
                                        8
                                        9                                CENTRAL DISTRICT OF CALIFORNIA

                                       10                                        LOS ANGELES DIVISION
                                       11
                                       12   In re:                                      Case Number 2:23-bk-12747-VZ
L AW O FFICES OF D AVID W. M EADOW S
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                                       13   JONG UK BYUN,                               Chapter 11
                                       14            Debtor and Debtor in Possession    ERRATA TO:
                                       15
                                                                                        PRELIMINARY OBJECTION BY PACKO
                                       16                                               INVESTMENTS, INC. AS ASSIGNEE OF
                                                                                        THE BAE FAMILY TRUST AND ASSIGNEE
                                       17                                               OF MOHAMAD SANFAZ TO
                                       18                                               CONFIRMATION OF CHAPTER 11 PLAN;
                                                                                        DECLARATION OF ALLEN PARK AND
                                       19                                               DECLARATION OF DAVID W. MEADOWS
                                                                                        IN SUPPORT THEREOF (Dkt. 129);
                                       20
                                       21                                               Hearing on Confirmation of the Plan
                                                                                        Date: December 14, 2023
                                       22                                               Time: 11:00 a.m.
                                                                                        Place: Courtroom 1368
                                       23
                                                                                               255 E. Temple Street
                                       24                                                      Los Angeles, CA 90012

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                                        1   TO THE HONORABLE VINCENT P. ZURZOLO, TO THE DEBTOR AND DEBTOR IN
                                        2   POSSESSION, AND TO INTERESTED PARTIES:
                                        3
                                                   Packo Investments, Inc. as Assignee of The Bae Family Trust (the “Bae”) and as Assignee of
                                        4
                                            Mohamad Sanfaz (“Sanfaz”) (collectively, “Packo”), the Bae Family Trust and Sanfaz each being
                                        5
                                        6   secured creditors of the Debtor, hereby present their preliminary objections to confirmation of the

                                        7   Debtor’s proposed chapter 11 plan (the “Plan”) (Dkt. 118). Concurrently, Packo is returning the Bae
                                        8
                                            and Sanfaz ballots, each rejecting the Plan.
                                        9
                                       10
                                                   ERRATA NOTE:           Packo’s previously filed preliminary objection (Dkt. 129) inadvertently
                                       11
                                       12   omitted the Debtor’s proposed monthly Plan payment to the Internal Revenue Service (the “IRS”) in the
L AW O FFICES OF D AVID W. M EADOW S
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                                       13   amount of $10,954.03. This was omitted from the Excel exhibit (Exhibit 3) and the presentation of
                                       14
                                            Plan payments below. The undersigned counsel discovered the error while reviewing the “United
                                       15
                                            States of America’s Objection to Amended Chapter 11 Plan (Dkt. 130) (the “IRS Objection”).         The
                                       16
                                       17   error is corrected in this Errata version. The IRS Objection asserts that the Debtor’s Plan payments to

                                       18   the IRS are understated. This Errata below uses the Debtor’s Plan number for payment to the IRS to be
                                       19   consistent to the Debtor’s proposed Plan, rather than the numbers asserted by the IRS in the IRS
                                       20
                                            Objection.
                                       21
                                            ///
                                       22
                                       23   ///

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                                        1                           MEMORANDUM OF POINTS AND AUTHORITIES
                                        2   I.     SUMMARY OF PLAN MATH:
                                        3
                                                   Attached as Exhibit 3 1 to the Declaration of David W. Meadows (hereinafter, the “Meadows
                                        4
                                            Decl.”) is an Excel schedule (the “Exhibit”) of all rents, which are cash collateral to Bae and Sanfaz, and
                                        5
                                        6   the use of rents throughout the Plan. The Exhibit reveals the following, which is addressed below as

                                        7   part of the objection to confirmation:
                                        8
                                                   $883,540.00:      The accumulated cash held by the Debtor as of the Debtor’s projected Effective
                                        9                            Date of March, 2024, as estimated by the Debtor in the Plan.

                                       10          $78,990.00:       Projected monthly rental income.
                                       11
                                                   $46,857.36:       Projected monthly Plan payments.
                                       12
L AW O FFICES OF D AVID W. M EADOW S




                                                   $32,132.64:       Monthly surplus the Debtor retains under the Plan.
     L OS A N GELES , C ALIFOR NIA




                                       13
                                       14          $1,831,420:       Sum of Effective Date cash plus the rental income for the twelve (12) month
                                                                     period of the Plan.
                                       15
                                                   $562,288.32:      Total Plan payments, including Effective Date payments, for the twelve (12)
                                       16                            month period of the Plan.
                                       17
                                                   $1,269,131.68 Total cash the Debtor retains at the end of the twelve (12) month period of the
                                       18                        Plan, even if the Debtor fails to refinance and/or fails to sell property sufficient
                                                                 to finance the Plan. In the event of default by the Debtor under the Plan,
                                       19                        creditors receive none of those funds while the Debtor retains nearly
                                       20                        $1,400,000.

                                       21
                                       22
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                                       27   1
                                                   Please review the Meadows Decl. for a detailed description of what is shown on Exhibit 3.
                                       28                                                       3
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                                        1   II.    THE PLAN SHOULD NOT BE CONFIRMED
                                        2          A.        The Plan is not Fair and Equitable.
                                        3
                                                   The fair and equitable requirement for secured creditors is stated at Bankruptcy Code Section
                                        4
                                            1129(b)(2)(A).
                                        5
                                        6          1.        The Plan violates Section 1129(b)(2)(A)(i)(II) as to both Bae and Sanfaz because Bae and

                                        7                    Sanfaz do not receive deferred cash payments totaling at least the allowed amount of their
                                        8
                                                             claims as of the Effective Date of the Plan.
                                        9
                                                   The projected Effective Date of the Plan is March 1, 2024. The Effective Date payment amount
                                       10
                                            must be brought current to the actual Effective Date. As evidenced by the attached Declaration of Allen
                                       11
                                       12   Park (hereinafter the “Park Decl.”), the Claims of Bae and Sanfaz as of March 1, 2024 will be
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                                       13   respectively $2,370,905.72 and $829,588.82, excluding reasonable attorneys’ fees accrued after
                                       14
                                            September 30, 2023. The Plan document does not incorporate a date reference for the column heading,
                                       15
                                            “Total Amount of Allowed Claim.” (See Plan, Dkt. 118, pg. 19 of 76 as to Bae, and page 72 of 76 as to
                                       16
                                       17   Sanfaz.)    For both Bae and Sanfaz, the amounts stated are correct as of the Petition Date, incorporating

                                       18   the proof of claim amounts, but do not reflect the correct amounts as of the Effective Date.
                                       19          The Plan also is not fair and equitable on account of the Debtor’s unilateral reduction of the Bae
                                       20
                                            and Sanfaz contract rate of interest to 10% as of the Effective Date of the Plan. Possibly, given the
                                       21
                                            alleged value of the Debtor’s real estate, 10% interest as of the Effective Date is close to a “Till” rate of
                                       22
                                       23   interest. Till v. SCS Credit Corp., 541 U.S. 465, 480, 124 S. Ct. 1951, 158 Led. 2d 787 (2004).

                                       24   However, borrowing from the “solvent debtor doctrine” which has been applied to the “pendency
                                       25
                                            period” between a petition date and a plan effective date, when a debtor is fully solvent – in this case
                                       26
                                       27
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                                        1   solvent by possibly $13 million dollars according to the Debtor’s Plan evidence 2, there is no justifiable
                                        2   reason for the contract rate of interest on the Bae and Sanfaz claims to terminate on the Effective Date of
                                        3
                                            the Plan. “[W]e join multiple sibling circuits in recognizing that the equitable solvent-debtor exception
                                        4
                                            – and its core principle that creditors should be made whole when the bankruptcy estate is sufficient –
                                        5
                                        6   persists under the Code.”   Ad Hoc Comm. Of Holders of Trade Claims v. PG&E (In re PG&E), 46

                                        7   F.4th 1047, 1061 (9th Cir. 2021), citing Keystone Gas Gathering, L.L.C. v. Ad Hoc Comm. (In re Ultra
                                        8
                                            Petroleum), 943 F.3d 758, 765 (5th Cir. 2019) (“As other circuits have recognized, absent compelling
                                        9
                                            equitable considerations, when a debtor is solvent, it is the role of the bankruptcy court to enforce the
                                       10
                                            creditors’ contractual rights.”); see also In re Dow Corning Corp., 456 F.3d 668, 679 (6th Cir. 2007).
                                       11
                                       12          In the Debtor’s case, the modification of the contractual rate as of the Effective Date is not fair
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                                       13   and equitable for several reasons, even if a 10% rate could be close to a “Till” rate.
                                       14
                                                   First, as shown by Exhibit 3 and the Meadows Declaration, the Debtor easily can continue to
                                       15
                                            pay the contract rate post-Effective Date. Doing so does not diminish at all the ability of the Debtor to
                                       16
                                       17   pay the remaining Plan payments. As shown on the Exhibit, paying the contract rate post-Effective

                                       18   Date still results in $985,291.48 vesting in the Debtor even if he does not refinance or sell any
                                       19   properties.
                                       20
                                       21
                                       22
                                       23
                                       24
                                            2
                                                     Plan Exhibit B shows total Plan payments of $8,919,957.17. Plan Exhibit C is a copy of
                                       25   Schedule A/B: Property, listing total value of $22,565,767. Plan Exhibit A, Mr. Byun’s Declaration,
                                            states that the real property is worth approximately $24 million, and contrary to the Exhibit B, Mr. Byun
                                       26
                                            states his belief that his debts are less than about $8 million. Using the lower asset value of $22 million
                                       27   and the higher liability value of Exhibit B, results in net value to the Debtor of approximately $13
                                            million. If some of his properties are sold, there would be a capital gain tax liability.
                                       28                                                           5
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                                        1          Second, satisfaction of Section 1129(b)(2)(B)(ii) does not change the outcome that Bae and
                                        2   Sanfaz lose their contract rate of interest accruing on the claims for the number of months between the
                                        3
                                            Effective Date and when, and if, they get paid by the Debtor’s refinancing or sale.     A fair and equitable
                                        4
                                            plan should provide that the creditors really be made whole. Instead, under the Plan, this allegedly
                                        5
                                        6   overwhelmingly solvent Debtor retains the cash benefit of the reduction of the contract rate interest to

                                        7   the proposed 10%. The amount is “real money.” It is not fair and equitable for this substantial amount
                                        8
                                            to be retained by the Debtor.
                                        9
                                                   Third, the Plan provisions for the “Effect of Confirmation” do not state the effect of a post-
                                       10
                                            confirmation default on the issue of the interest rate.   Part A of Section X states that the “stay
                                       11
                                       12   continues to prohibit collection or enforcement of pre-petition claims against the Debtor or the Debtor’s
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                                       13   property until the date the Debtor receives a discharge, if any.” (Section X, page 22 of 76).     At Part D
                                       14
                                            of Section X, the Plan provides that the “Debtor will seek an order of discharge pursuant to 11 U.S.C. §
                                       15
                                            1141(d)(5)(C).”    At Part E, Material Default, the Plan states the conditions to establish when the
                                       16
                                       17   Debtor is in Material Default (meant to be a defined term), but the language does not state the

                                       18   consequences of being in Material Default. 3     Bae and Sanfaz each have recorded court orders granting
                                       19   relief from stay, with each being effective May 3, 2024 (the “Stay Orders”). The Plan is silent as to its
                                       20
                                            effect on the Stay Orders. Bae and Sanfaz will presume that as long as the Debtor is in compliance with
                                       21
                                            a confirmed Plan, Bae and Sanfaz may not exercise their rights under state law. However, the Plan is
                                       22
                                       23
                                       24
                                       25
                                       26   3
                                                    Given the time delays built into the Material Default provisions, the Plan should state the date on
                                       27   which the payments are to be made each month, such as post-marked by the 15th of each month unless
                                            that date falls on a weekend or holiday, in which case the mailing would be the next business day.
                                       28                                                        6
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                                        1   silent about the effect of a Material Default occurring after May, 2024 with respect to the interest rate
                                        2   applicable to Bae and Sanfaz.
                                        3
                                                   This is important, and still goes to the requirement that the Plan be fair and equitable. Upon a
                                        4
                                            Material Default (assume after May, 2024), Bae and Sanfaz will record new notices of default as
                                        5
                                        6   required under the Civil Code. The combined period that must lapse between the recordation of the

                                        7   notice of default and an actual sale is at least 110 days. Under state law, Bae and Sanfaz ordinarily
                                        8
                                            would be entitled to receive all of their contractual interest accruing up to the date of the sale. If the
                                        9
                                            properties are worth what the Debtor alleges, there should be expected bids and overbids. Suppose the
                                       10
                                            Debtor himself raises the funds to be the high bidder      It is not fair and equitable for Bae and Sanfaz to
                                       11
                                       12   not receive their contract rate of interest as of the Effective Date in the event of the Debtor’s Material
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                                       13   Default.    The Plan should so provide.
                                       14
                                                   2.      The Plan is not Fair and Equitable under the Totality of Circumstances on Account of the
                                       15
                                                           Debtor’s Plan Vesting in the Debtor on the Effective Date almost all Cash Collateral and
                                       16
                                       17                  Surplus Cash of $1,269,131.68 over the First Year of the Plan.

                                       18                  The “fair and equitable requirement” is not limited to narrowly satisfying Bankruptcy
                                       19   Code Section 1129(b)(2). The Code section states, “For purpose of this subsection, the condition that a
                                       20
                                            plan be fair and equitable with respect to a class includes the following requirements[.]” 11 U.S.C.
                                       21
                                            Section 1129(b)(2) (italics added). The terms “includes” and “including” are not limiting.” 11 U.S.C.
                                       22
                                       23   Section 102(3). The Debtor projects having cash on hand as of the Effective Date of $883,540. That

                                       24   is almost entirely rents, which are cash collateral to Bae and Sanfaz. By the end of the first twelve-
                                       25
                                            month period under the Plan, the Debtor will have cash of $1,269,131.68.        (See Exhibit 3).
                                       26
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                                       28                                                         7
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                                        1           There are several reasons why the surplus cash, meaning the cash on hand as of the Effective
                                        2   Date that is not necessary for Effective Date payments, and cash collected during the twelve-month
                                        3
                                            period after the Effective Date that is not necessary for Plan payments, should be distributed to Bae.
                                        4
                                            First, payment of the funds to Bae will reduce the Bae claim significantly. This in turn reduces the
                                        5
                                        6   amount of money the Debtor will need to borrow or reduces the number of properties the Debtor will

                                        7   need to sell.   It also reduces the interest accrual. All of this benefits not only Bae, Sanfaz and all other
                                        8
                                            creditors but also benefits the Debtor. The secured debt is decreased and the ability to fund the
                                        9
                                            remaining creditor claims increases.
                                       10
                                                    In the Plan, the Debtor puts his own interest ahead of creditors; he takes no risk with respect to
                                       11
                                       12   keeping $1,269,131.68.      On the Effective Date, the retained cash released under the Plan to the Debtor
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                                       13   is $836,682.64. (Effective Date projected cash of $883,540 minus the first month payments of
                                       14
                                            $46,857.36). The accumulated monthly surplus between incoming rents and Plan payments provides the
                                       15
                                            Debtor $1,269,131.68 of cash, for himself to keep, after the first twelve months of the Plan even if he
                                       16
                                       17   never refinances or sells any of his properties.    A plan should be considered fair and equitable when it

                                       18   delivers available cash first to creditors before to equity.
                                       19   ///
                                       20
                                            ///
                                       21
                                            ///
                                       22
                                       23   ///

                                       24   ///
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                                        1          B.      The Plan is Not Proposed in Good Faith as Required by Bankruptcy Code Section
                                        2                  1129(a)(3) 4
                                        3
                                                   1.      The Debtor’s Plan proposes that at the end of the first year after the Effective Date, the
                                        4
                                            Debtor retains $1,269,131.68 in cash even if he fails to refinance or sell his properties.   In that
                                        5
                                        6   scenario, the Debtor keeps for himself nearly $1,300,000 and unsecured creditors receive nothing. See

                                        7   supra, and Exhibit 3.
                                        8
                                                    2.     The Debtor has not filed an application to retain a loan broker or a real estate broker
                                        9
                                            during the entire period of the chapter 11 case, from May 4, 2023 to the present. Bae and Sanfaz argued
                                       10
                                            in connection with their motion to convert the case 5 and for relief from stay that the same indifference to
                                       11
                                       12   getting creditors paid pre-petition justified the case being converted at the outset. Consistently during
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                                       13   the case, the Debtor has represented that “he is presently” retaining a loan broker and a real estate
                                       14
                                            broker. He has done neither. 6
                                       15
                                       16
                                       17
                                       18
                                       19
                                            4
                                                    Packo intends to file and give notice of a renewed Motion to Convert the Debtor’s Chapter 11
                                       20   case to one under Chapter 7. This Court’s rules require that motions pertaining to the main bankruptcy
                                       21   case be heard on Tuesdays while motions for approval of a chapter 11 plan are heard on Thursdays.
                                            Packo intends to provide notice and set a renewed motion to convert the case for hearing on the next
                                       22   available Tuesday following the December 14, 2023 hearing to approve the Debtor’s motion to confirm
                                            the Plan.
                                       23
                                            5
                                                   Dkt. 32; denied by order entered on July 27, 2023, Dkt. 90.
                                       24
                                            6
                                                   The following is a list of all the times the Debtor stated in a declaration that he was retaining a
                                       25
                                            loan and/or a real estate broker:
                                       26
                                       27
                                       28                                                         9
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                                        1           If the Court were to convert the case to one under Chapter 7, a chapter 7 trustee would promptly
                                        2   list the properties for sale. The Trustee would have time to do so and likely close one or more sales
                                        3
                                            well before the May 4, 2024 effective dates of the Bae and Sazfaz orders granting them relief from stay.
                                        4
                                            (Should a trustee be in a bona fide escrow sufficient to satisfy the Bae and Sanfaz claims, Bae and
                                        5
                                        6   Sanfaz may be amenable to delay any foreclosure for a limited period of time to allow escrow to close.)

                                        7           In the event none of the properties could be sold by a trustee and foreclosure were to proceed, at
                                        8
                                            least the trustee would retain and assert a right to the rents collected by the Debtor pre-Effective Date
                                        9
                                            and post-Effective Date.   Although the Debtor would not receive a discharge under Section
                                       10
                                            1141(d)(5)(C) and under the Plan and still be liable for all the Plan debts, the approximately $1,400,000
                                       11
                                       12   will already have been released to the Debtor.
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                                       13
                                       14
                                       15
                                       16
                                             “I am retaining a loan broker to arrange a loan       Supplemental Declaration of Jong Uk Byun in
                                       17    secured by my real estate assets . . . .              Support of Oppositions to Motions for Relief
                                             Simultaneously, I am also listing two of my real      from Stay and to Dismiss or Convert filed by Bae
                                       18    estate assets for sale[.]”                            and Sanfaz (Dkt 66, para. 3, pg. 2 of 5 (7/10/23)
                                       19
                                             Same declaratory statement.                           Disclosure Statement and Plan of Reorganization,
                                       20                                                          Dkt. 67, para. 11, page 27 of 75 (7/11/23)
                                       21
                                             Same declaratory statement.                           Supplemental Declaration in Support of
                                       22                                                          Opposition to Motion for Relief From the
                                                                                                   Automatic Stay Under 11 U.S.C. § 362 Filed by
                                       23                                                          Creditors Adjustment Bureau; Dkt. 95, para. 3,
                                                                                                   page 2 of 5. (8/01/23)
                                       24
                                       25    Same declaratory statement.                           Plan, Dkt. 118, para. 11, page 27 of 76.
                                       26
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                                        1           The Ninth Circuit in Platinum Capital, Inc. v. Sylmar Plaza, L.P. (In re Symar Plaza, L.P.)
                                        2   (“Sylmar”) rejected a per se rule that a chapter 11 plan lacks good faith where the plan is designed solely
                                        3
                                            to take advantage of provisions of the Bankruptcy Code. Rejecting such a rigid rule, Sylmar held that
                                        4
                                            the Court would not abandon its long-settled interpretation of the good faith requirement, “to wit, that
                                        5
                                        6   ‘bankruptcy courts should determine a debtor’s good faith on a case-by-case basis.” Id. at 1075

                                        7   (citations omitted.)
                                        8
                                                    Here, the Debtor’s Plan is extraordinarily lopsided in favor of the Debtor. Section VIII F –
                                        9
                                            Shareholder Interests, provides that on the Effective Date, the Debtor “simply retains its property
                                       10
                                            interest in property, both encumbered and exempt.”         It is not exactly clear but this language may be
                                       11
                                       12   understood to mean that on the Effective Date, all the surplus cash held by the Debtor, including cash
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                                       13   collateral, becomes property of the Debtor to use any way he chooses. The same is true with regard to
                                       14
                                            all surplus rents during the post-Effective Date period, even if there is a Material Default under the Plan.
                                       15
                                            Exhibit 3 shows how this may amount to nearly $1,300,000 over the first year of the Plan, even if no
                                       16
                                       17   creditors other than secured creditors receive any Plan payments. “A plan is proposed in good faith

                                       18   where it achieves a result consistent with the objectives and purposes of the Code.” In re Sylmar at
                                       19   1074 (citations omitted). This Plan does not. Filing the petition gave the Debtor the benefit of the
                                       20
                                            automatic stay. The Debtor has done nothing with its “breathing spell” opportunity, just as the Debtor
                                       21
                                            did nothing with the same period pre-petition, even with the additional time Bae and Sanfaz extended.
                                       22
                                       23   Having made no effort to actually take steps to pay his creditors, at least based on the record, the Debtor

                                       24   proposes a plan that puts himself before creditors.    That is not consistent with the objectives and
                                       25
                                            purposes of the Code.
                                       26
                                       27
                                       28                                                         11
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                                        1            C.        The Debtor has not Demonstrated Feasibility of the Plan.
                                        2            The Plan is premised on the Debtor refinancing some or all of his properties and/or selling
                                        3
                                            sufficient of his properties to pay the Plan obligations. However, the Debtor has provided no evidence
                                        4
                                            of his ability or intent to retain a loan broker or retain a real estate broker. The failure to have filed an
                                        5
                                        6   application to retain either such professional, pre- or post-petition creates a reasonable inference that

                                        7   there is a problem.     Why would the Debtor have not done so all this time? Oddly, there is no evidence
                                        8
                                            of the Debtor’s actual intention to do so. Instead, the Debtor may choose to simply use the rents to
                                        9
                                            make Plan payments for nearly a year, retain the surplus cash, and never actually try to refinance or sell
                                       10
                                            his real estate.     The absence of an application to hire a loan or real estate broker, or both, all this time
                                       11
                                       12   is evidence that the Debtor will not do so post-Effective Date.
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                                       13            Contrast the scenario with conversion of the case. Given the values the Debtor asserts the
                                       14
                                            properties are worth, a chapter 7 trustee will not hesitate to list the properties for sale, netting easily
                                       15
                                            more than enough to pay all claims in full, as well as all related capital gain tax.
                                       16
                                       17   III.    CONCLUSION

                                       18           The foregoing sets forth the preliminary objections to confirmation of the Debtor’s Plan.
                                       19   DATED: November 3, 2023                           THE LAW OFFICES OF DAVID W. MEADOWS
                                       20
                                       21
                                                                                              By:            /s/ David W. Meadows
                                       22                                                                    David W. Meadows
                                       23
                                                                                              Counsel to Packo Investments, Inc., as Assignee of
                                       24                                                     Mohamed Sanfaz, an individual, and to Packo Investments,
                                                                                              Inc., as Assignee of The Bae Family Trust.
                                       25
                                       26
                                       27
                                       28                                                           12
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                                        1                                      DECLARATION OF ALLEN PARK
                                        2
                                                    I, Allen Park, declare as follows:
                                        3
                                                    1.      I am over 18 years of age. If called as a witness, I could and would testify to the matters
                                        4
                                        5   set forth in this declaration.

                                        6           2.      I am the President of Packo Investments, Inc.
                                        7
                                                    3.      I am one of the custodians of the books, records and files of Movant that pertain to loans
                                        8
                                            and extensions of credit given to Debtor concerning the Property. I have personally worked on the books,
                                        9
                                       10   records and files, and as to the following facts, I know them to be true of my own knowledge or I have

                                       11   gained knowledge of them from the business records of Packo. These books, records and files were made
                                       12   at or about the time of the events recorded, and which are maintained in the ordinary course of Packo’s
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                                       13
                                            business at or near the time of the actions, conditions or events to which they relate. Any such document
                                       14
                                            was prepared in the ordinary course of business of Packo by a person who had personal knowledge of the
                                       15
                                       16   event being recorded and had or has a business duty to record accurately such event. The business records

                                       17   are available for inspection and copies can be submitted to the court if required.
                                       18           4.       The amount due on the Bae note including principal, default interest, fees and costs as of
                                       19
                                            March 1, 2024 is $2,370,905.72. This amount does not include reasonable attorneys’ fees accruing on or
                                       20
                                            after September 30, 2023, which are preserved. The calculation of the amount due is set forth in detail
                                       21
                                       22   on Exhibit 1.

                                       23           5.      The amount due on the Sanfaz note including principal, default interest, fees and costs as
                                       24
                                            of March 1, 2024 is $829,588.82. This amount does not include reasonable attorneys’ fees accruing on
                                       25
                                            or after September 30, 2023, which are preserved. The calculation of the amount due is set forth in detail
                                       26
                                       27   on Exhibit 1.

                                       28                                                       13
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                                        1           6.      The calculations for the amounts stated above are shown on the attached Exhibit 1.
                                        2   Exhibit 1 is the same exhibit attached to the Bae and Sanfaz proofs of claim, but updated to bring the
                                        3
                                            numbers current to a presumed Effective Date of the Plan, projected to be March 1, 2024.
                                        4
                                                    7.      Attached hereto as Exhibit 2 is a print of the display from the Department of Real Estate
                                        5
                                        6   Public License Lookup website, displaying my State of California Department of Real Estate license. As

                                        7   shown on Exhibit 2, I have been a licensed real estate broker since May 15, 1987.   I personally negotiated
                                        8
                                            and handled all aspects of the Bae and Sanfaz loans on behalf of Bae and Sanfaz.
                                        9
                                       10
                                                    I declare under penalty of perjury under the laws of the United States of America that the foregoing
                                       11
                                       12   is true and correct.
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                                       13           This declaration is being executed this ___of October, 2023, in Los Angeles, California.
                                       14
                                       15
                                                                                                  See next page
                                       16
                                       17                                                         Allen Park

                                       18
                                       19
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                                        1
                                                                             DECLARATION OF DAVID W. MEADOWS
                                        2
                                        3           I, David W. Meadows, declare as follows:
                                        4
                                                    1.      I am over 18 years of age. If called as a witness, I could and would testify to the matters
                                        5
                                            set forth in this declaration.
                                        6
                                                    2.      Attached as Exhibit 3 is a true and correct copy of an Excel worksheet that I prepared.
                                        7
                                        8   The following is a description and explanation of what is presented on the Exhibit.     This Declaration

                                        9   incorporates the corrections to the Excel attached to the previously filed Preliminary Objection.
                                       10
                                            The prior version of Exhibit 3 inadvertently omitted the Plan payments to the IRS. As set out it in
                                       11
                                            the Errata, Exhibit 3 uses the Plan payment for the IRS, which the IRS asserts is understated. See “United
                                       12
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                                            States of America’s Objection to Amended Chapter 11 Plan” (Dkt. 130). To be consistent in correcting
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                                       13
                                       14   the Preliminary Objection, Exhibit 3 and the Statements below use the Debtor’s Plan payment amount for
                                       15   the IRS.
                                       16
                                                    3.      In the upper left corner: $883,540.00. That number is the Debtor’s stated amount that it
                                       17
                                            will have on hand as of the Effective Date. The projected Effective Date stated in the Plan is March, 2024.
                                       18
                                       19           4.      The Monthly Income column identifies the rental income from the Debtor’s four

                                       20   properties. The adjacent column to the right, Annualized, takes the figure in the monthly column and
                                       21
                                            multiplies it by 12. Further to the right shows the amounts stated as the total amount held by the Debtor
                                       22
                                            as rents received for each property through September, 2023, as reported in the most recently filed
                                       23
                                            Monthly Operating Report (Dkt. 128). The right most column, at the top, projects the remaining rent the
                                       24
                                       25   Debtor should receive before the Effective Date. This is derived by taking the monthly rent and

                                       26   multiplying it by 6, for the months of October, 2023 through March, 2024. The total figure of $802,900
                                       27
                                       28                                                       15
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                                        1   is rent total collected per the MOR through September, 2023 ($328,960) plus the additional six months of
                                        2   rent ($473,940) for a total of $802,900. This amount is close to the Debtor’s estimate of $883,540.
                                        3
                                                   5.      Left side, Effective Date: $45,008.45 is the amount the Plan states is the amount to be paid
                                        4
                                            on the Effective Date. To the right of that figure is the reference to the specific page of the Plan. Here,
                                        5
                                        6   the reference is to Section VB, page 10 of 76.

                                        7          6.      Left side, below the Effective Date, are listed the various claims to be paid on the Effective
                                        8
                                            Date and monthly payments through-out the first twelve-month period of the Plan.                The total is
                                        9
                                            $562,288.32 (corrected). (For clarity purposes, this figure does not include the quarterly payment of
                                       10
                                            $250.00 per month to the U.S. Trustee per the Plan or the Debtor’s attorneys’ fees.)
                                       11
                                       12          7.      Left side, below the Secured heading, is Unsecured: They receive no payments until and
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                                       13   unless the Debtor’s real property is refinanced and/or sold.
                                       14
                                                   8.      Left side, Starting Date cash is just restating for clarity the Effective Date cash per the
                                       15
                                            Debtor’s Plan projection, $883,540.
                                       16
                                       17          9.      Left side, Total Income for 1-year post-petition is $947,880. The math is shown at the top

                                       18   center of the worksheet. It is the annualized rental income.
                                       19          10.     Left side, All Cash on the Effective Date plus the first twelve (12) months of the Plan is
                                       20
                                            the sum of $883,540.00 plus $947,880, for a total of $1,831,420.
                                       21
                                                   11.     Left side, Plan Payment for 12 Months is $562,288.32 (corrected). This is the total of the
                                       22
                                       23   annualized monthly payments, shown in the center of the Exhibit.

                                       24          12.     Left side, Equity Cash Retained in the amount of $1,269,131.68 (corrected).              This
                                       25   number is derived by taking the total of cash at the end of the twelve-month period (Effective Date cash
                                       26
                                            of $883,540 plus one year of rental income $947,880) and subtracting the total Plan payments through the
                                       27
                                       28                                                       16
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                                        1   first twelve months of the Plan ($562,288.32) (corrected), resulting in the sum of $1,269.131.68
                                        2   (corrected). Per Section VIII, F of the Plan, on the Effective Date of the Plan, all property is revested in
                                        3
                                            the Debtor.
                                        4
                                                    13.     On the right side of the Exhibit, mid-way down, is a box. On the right side of the box are
                                        5
                                        6   the monthly payments under the Plan, with the monthly payment to Bae and Sanfaz shown at the contract,

                                        7   default rate. It shows that the monthly Plan payments become $70,510.71 (corrected). The monthly
                                        8
                                            surplus is shown by taking the monthly rental income ($78,990.00) and subtracting $70,510.71
                                        9
                                            (corrected), resulting in $8,479.29 (corrected). This means that the Debtor can pay the Bae and Sanfaz
                                       10
                                            contract rates of interest, still make all the other Plan payments, and still have a monthly surplus. The
                                       11
                                       12   remaining figures in the box show that same concept, but annualized. The net number retained by the
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                                       13   Debtor becomes $985,291.48 (corrected), even after paying Sanfaz and Bae the contract, default rate of
                                       14
                                            interest.
                                       15
                                       16
                                       17           I declare under penalty of perjury under the laws of the United States of America that the foregoing

                                       18   is true and correct.
                                       19           This declaration is being executed this 3rd day of November, 2023, in Los Angeles, California.
                                       20
                                       21
                                       22                                                         /s/ David W. Meadows
                                       23                                                         David W. Meadows

                                       24
                                       25
                                       26
                                       27
                                       28                                                       17
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                                 Schedule of Amounts Due Bae and Sanfaz as of March 1, 2024
                                                                          Bae              Sanfaz
                                     Principal                     $   1,290,000.00    $   500,000.00
                                   Interest Rate                         10%                10%
                          Daily Interest Rate (360/365)            $         358.33    $       138.89
                                   Default Rate                          20%                20%
                          Daily Default Rate (360/365)             $         358.33    $       138.89
                                     Maturity
                                     Paid Until
                                   Interest Due                    $            -      $          -
                      5/1/2018 - 5/31/18 Interest (31 Days)
                  5/1/2018 - 5/31/18 Default Interest (31 Days)

                      6/1/2018 - 6/30/18 Interest (30 Days)        $     10,750.00     $     4,166.67
                  6/1/2018 - 6/30/18 Default Interest (30 Days)    $     10,750.00     $     4,166.67

                      7/1/2018 - 2/5/20 Interest (585 Days)        $    209,625.00     $    81,250.00
                  7/1/2018 - 2/5/20 Default Interest (585 Days)    $    209,625.00     $    81,250.00

                         Interest & Default Penalty Total          $     440,750.00    $ 170,833.33
                        Payment from SB Sale (02/05/20)            $    (350,000.00)   $ (250,000.00)
                              Balance as of 2/05/20                $      90,750.00    $ (79,166.67)
                            Principal Reduction (if any)                               $   (79,166.67)

                              Principal as of 2/5/20               $   1,290,000.00    $   420,833.33
                                    Interest Rate                        10%                10%
                           Daily Interest Rate (360/365)           $         358.33    $       116.90
                                    Default Rate                         20%                20%
                           Daily Default Rate (360/365)            $         358.33    $       116.90
                                      Per Diem                     $         716.67    $       233.80
                           BK PETITION DATE: 8/14/20

                       2/6/20 - 8/14/20 Interest (191 Days)        $      68,441.67    $    22,327.55
                   2/6/20 - 8/14/20 Default Interest (191 Days)    $      68,441.67    $    22,327.55
                           Legal Fees/Foreclosure Fees

                        Total as of 8/14/20 (Interest Only)        $     227,633.33    $    44,655.09
                               Total as of 8/14/20                 $   1,517,633.33    $   465,488.43

                     8/15/20 - 12/31/21 Interest (504 Days)        $    180,600.00     $    58,916.67
                  8/15/20 - 12/31/21 Default Interest (504 Days)   $    180,600.00     $    58,916.67
                           Legal Fees/Foreclosure Fees
                       Total as of 12/31/21 (Interest Only)        $     588,833.33    $   162,488.43
                               Total as of 12/31/21                $   1,878,833.33    $   583,321.76

                      Payment from Santa Fe Sale 12/31/21
                             Balance as of 12/31/21                $   1,878,833.33    $   583,321.76
                           Principal Reduction (if any)
                             Principal as of 12/31/21              $   1,290,000.00    $   420,833.33
                                   Interest Rate                         10%                10%
                          Daily Interest Rate (360/365)            $         358.33    $       116.90
                                   Default Rate                          20%                20%
                          Daily Default Rate (360/365)             $         358.33    $       116.90
                                     Per Diem                      $         716.67    $       233.80
                     01/01/22 - 01/13/22 Interest (13 Days)        $       4,658.33    $     1,519.68
                  01/01/22 - 01/13/22 Default Interest (13 Days)   $       4,658.33    $     1,519.68
                          Legal Fees/Foreclosure Fees
                       Total as of 01/13/22 (Interest Only)        $     598,150.00    $   165,527.78
                               Total as of 01/13/22                $   1,888,150.00    $   586,361.11

                   Payment from Title (Transfer Tax Returned)
                        Applied to Interest on 1/13/22


 Exhibit 1- Payoff 030124 - With Timeline V3 10 27 23.xlsx                                                    1
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                                 Schedule of Amounts Due Bae and Sanfaz as of March 1, 2024
                                                                         Bae               Sanfaz
                            Principal Reduction (if any)
                          New Principal as of 01/13/22             $   1,290,000.00    $   420,833.33
                                    Interest Rate                        10%                10%
                           Daily Interest Rate (360/365)           $         358.33    $       116.90
                                    Default Rate                         20%                20%
                           Daily Default Rate (360/365)            $         358.33    $       116.90
                                      Per Diem                     $         716.67    $       233.80
                    Legal Fees/Foreclosure Fees (Pre Petition)

                             New Total as of 1/13/22               $   1,888,150.00    $   586,361.11

                     01/14/22 - 02/28/22 Interest (46 Days)        $     16,483.33     $     5,377.31
                  01/14/22 - 02/28/22 Default Interest (46 Days)   $     16,483.33     $     5,377.31
                    Legal Fees/Foreclosure Fees (Pre Petition)
                       Total as of 02/28/22 (Interest Only)        $      32,966.67    $    10,754.63
                               Total as of 02/28/22                $   1,921,116.67    $   597,115.74

                      Interest (3/1/22-3/9/22) *extra day (1)
                                    Total 3/9/22
                                 RECEIVED 3/9/22
                            3/1/22 - 3/31/22 (31 days)
                         Per final dismissal order 4/19/22
                                Total as of 02/28/22               $   1,921,116.67    $   597,115.74

                       3/1/22 - 5/31/22 Interest (92 Days)         $      32,966.67    $    10,754.63
                    3/1/22-5/31/22 Default Interest (92 Days)      $      32,966.67    $    10,754.63
                            Payment to BAE 4/21/22                 $     (48,567.86)

                                Total as of 5/31/22                $   1,938,482.14    $   618,625.00

                        6/1/22 - 5/4/23 Interest (338 Days)        $     121,116.67    $    39,511.57
                    6/1/22 - 5/4/23 Default Interest (338 Days)    $     121,116.67    $    39,511.57
                             Payment to BAE 6/27/22                $    (147,496.15)

                      Total as of 5/4/23 (BK PETITION DATE)        $   2,033,219.32    $   697,648.15
                                Legal Fees per NOD                 $       8,508.50    $    20,513.49
                                     Legal Fees                    $      53,382.71    $    17,416.64
                          Foreclosure Fees as of 5/4/23            $      11,269.61    $     7,713.49

                           Total with fees as of 5/4/23            $   2,106,380.14    $   743,291.77

                        5/5/23 - 3/1/24 Interest (302 Days)        $    108,216.67     $    35,303.24
                    5/5/23 - 3/1/24 Default Interest (302 Days)    $    108,216.67     $    35,303.24
                        Post BK Legal Fees (as of 9/30/23)         $     48,092.25     $    15,690.57

                                Total as of 3/1/24                 $   2,370,905.72    $   829,588.82




 Exhibit 1- Payoff 030124 - With Timeline V3 10 27 23.xlsx                                                    2
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                                                STATE OF CALIFORNIA
                                             DEPARTMENT OF REAL ESTATE
    In reviewing a licensee's information, please be aware that license discipline information may have been removed from a licensee's record
  pursuant to Business & Professions Code Section 10083.2 (c). However, discipline information may be available from the California Department
               of Real Estate upon submittal of a request, or by calling the Department's public information line at 1-877-373-4542.
   The license information shown below represents public information. It will not reflect pending licensing changes which are being reviewed for
   subsequent updating. Although the business and mailing addresses of real estate licensees are included, this information is not intended for
                                                              mass mailing purposes.
       Some historical disciplinary action documents may not be in compliance with certain accessibility functions. For assistance with these
                                         documents, please contact the Department's Licensing Flag Section.


                License information taken from records of the Department of Real Estate on 10/24/2023 9:23:16 AM

  License Type:                              BROKER

  Name:                                      Park, Allen Haeam

  Mailing Address:                           440 S VERMONT AVE #301
                                             LOS ANGELES, CA 90020

  License ID:                                00708737

  Expiration Date:                           05/14/27

  License Status:                            LICENSED

  Salesperson License Issued:                04/19/83 (Unofficial -- taken from secondary records)

  Broker License Issued:                     05/15/87 (Unofficial -- taken from secondary records)

  Former Name(s):                            NO FORMER NAMES

  Main Office:                               440 S VERMONT AVE #301
                                             LOS ANGELES, CA 90020

  DBA                                        NO CURRENT DBAS

  Branches:                                  NO CURRENT BRANCHES

  Affiliated Licensed Corporation(s): 01038460 - Officer Expiration Date: 08/06/25
                                      Packo Investments Inc

  Comment:                                   NO DISCIPLINARY ACTION

                                             NO OTHER PUBLIC COMMENTS

                                             >>>> Public information request complete <<<<




https://www2.dre.ca.gov/PublicASP/pplinfo.asp?License_id=00708737                                                                              1/1
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                               EXHIBIT 3
                                                                                                                                         EXHIBIT 3
                                                                                                                                        In re Byun
                                                                                                           Schedule of Cash Collateral Plan Uses and Debtor's Retained Surplus

                                 Effective Date Cash Collateral                                                                                                                                                                  Additional Rents - Oct.
                                  Assuming Effective Date of                                                                                                                                 Rent Totals per MOR for PE          2023 - March, 2024 - 6
                                         MARCH, 2024.                   Monthly Income    Annualized                               Description and Source Document                              Sept., 2023; Dkt. 128                   Months
                                                                                                             Dkt 118; Sect B, Source of Funding; pg. 11 of 76; Effective Date definition,
                                            $883,540.00                                                      Section II, page 3 of 76.
                                                                             $20,800.00     $249,600.00      Rental Income - 17336 E. 2th St. Dkt. 118; Exh. D, page 45 of 76                                $86,200.00                       $124,800.00
                                                                             $15,190.00     $182,280.00      Rental Income - 2445 S. Alameda St. Dkt. 118; Exh. D, page 45 of 76                             $63,760.00                        $91,140.00
                                                                             $41,000.00     $492,000.00      Rental Income - 2203 S. Alameda St. Dkt. 118; Exh. D, page 45 of 76                            $169,000.00                       $246,000.00
                                                                              $2,000.00      $24,000.00      Rental Income - 24399 State Hwy 58. Dkt. 118; Exh. D, page 45 of 76                             $10,000.00                        $12,000.00
                                                            Subtotal:        $78,990.00     $947,880.00      Rental Income - All                                                                            $328,960.00                       $473,940.00

                                                                                                Plan Payments:                                                                                          Combined Total:                       $802,900.00
                                                                                                                                                                                                                                                                                   Case 2:23-bk-12747-VZ




                                                                                                             Dkt. 118; Sect. VB, Effective Date Payments; page 11 of 76. First monthly
                              Effective Date:                                $45,008.45                      payments plus $250.00 for U.S. Trustee Fees

                              Administrative Priority:
                              U.S. Trustee:                                      $83.33       $1,000.00      $250.00 per quarter; Dkt. 118, pg. 15

                              Orantes law firm                             unknown         unknown           Estimated at $120,000. Requires consent by Bae and Sanfaz or court order
                                                                                                                                                                                                                                                            Doc 131




                                                                                                                                                                                              Monthly Payments If Bae and Sanfaz receive Contract Default
                              Secured:                                                                                                                                                                                  rate:

                              Omitted: IRS                                   $10,954.03     $131,448.36      DKT. 118; Exhibit H, pg. 70 of 76                                                                                                 $10,954.03
                              Franchise Tax Board                             $5,771.00      $69,252.00      Dkt. 118; Sect. VIII, B, 2, pg. 16                                                                                                 $5,771.00
                                                                                                                                                                                                                                                             Main Document




                              Bae Family Trust                               $17,459.25     $209,511.00      Dkt. 118; Sect. VIII, E, 2, pg. 19                                                                                                $34,918.50
                              Complete Bus. Solutions                         $2,873.62      $34,483.44      Dkt. 118; Sect. VIII, E, 2, pg. 20                                                                                                 $2,873.62
                              Creditors Adj. Bureau                           $2,263.07      $27,156.84      Dkt. 118; Sect. VIII, E, 2, pg. 21                                                                                                 $2,263.07
                              Sanfaz                                          $6,194.10      $74,329.20      Dkt. 118; Exh. I, pg. 72                                                                                                          $12,388.20
                              So. Cal Oil/San Bernardino Tax                  $1,223.85      $14,686.20      Dkt. 118; Exh. I, pg. 73                                                                                                           $1,223.85
                                                                                                                                                                                                                                                                138 Filed 11/03/23




                              So. Cal Oil/San Bernardino Tax                   $118.44        $1,421.28      Dkt. 118; Exh. I, pg. 74                                                                                                             $118.44
                                                                                                                                                                                             Total Monthly Plan
                                                                                                                                                                                                                                               $70,510.71
                                                            Subtotal:        $46,857.36     $562,288.32                                                                                      Payments:
                                                                                                                                                                                                                                                                              Page 25




                                                                                                                                                                                             Monthly Plan Income:                              $78,990.00
                                                  Monthly Surplus:           $32,132.64                                                                                                      Monthly Surplus:                                   $8,479.29
                                                                                                                                                                                             Total 12 Month Plan
                                                                                                                                                                                             Payments                                         $846,128.52
                                                                                                                                                                                                                                                                                   38 of 27
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                                                                                                             Zero until paid in full no later than one year from the Effective Date by the   Ending 12 Month Cash Flow
                                                                                                                                                                                                                                              $101,751.48
                              Unsecured:                                          $0.00           $0.00      sale or refinancing of property,.                                               Surplus:


                                                                                                                                                                                             Total Cash Retained by the
                              Starting Effective Date Cash                                  $883,540.00      See above                                                                       Debtor after 12 Months:                          $985,291.48
                                                                                                                                                                                                                                                                          11/20/23 Entered 11/03/23




                              Total Rental Income for 1 year,
                              post Effective Date:                                          $947,880.00      See above

                              All Cash on the Effective Date plus                          $1,831,420.00
                              the first twelve (12) months of
                              the Plan:
                                                                                                                                                                                                                                                                                            11/20/23 13:40:38
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                              Plan Payments for 12 Months:                                  $562,288.32      See above

                                                                                           $1,269,131.68     Retains all property, both encumbered and exempt; Dkt. 118; Section VIII F,
                                                                                                             pg. 22. This is the cash retained by the Debtor regardless of the success of
                              Equity (cash) retained:
                                                                                                                                                                                                                                                                                   Desc




                                                                                                             refinancing or sale, and regardless whether any payments are made to
                                                                                                             unsecured creditors.



Exhibit 3 Rev'd - Byun Plan Math Revised V1 11 03 23.xlsx
Prepared by LODWM
Printed 11/3/2023
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:1801
Century Park East, Suite 1201, Los Angeles, CA 90067.

A true and correct copy of the foregoing documents entitled ERRATA TO: PRELIMINARY OBJECTION BY PACKO
INVESTMENTS, INC. AS ASSIGNEE OF THE BAE FAMILY TRUST AND ASSIGNEE OF MOHAMAD SANFAZ TO
CONFIRMATION OF CHAPTER 11 PLAN; DECLARATION OF ALLEN PARK AND DECLARATION OF DAVID W.
MEADOWS IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. 11/03/23, I
checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons
are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Please see next page.



                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:

On ______________, I caused to be served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 11/03/23, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

                    Honorable Vincent P. Zurzolo (Via Messenger)
                    United States Bankruptcy Court
                    255 E. Temple Street, Suite 1368
                    Los Angeles, CA 90012
                                                                                            Service information continued on attached page



I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  11/03/2023                       David W. Meadows                                              /s/ David W. Meadows
  Date                            Printed Name                                                   Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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1.   Continued:


     x   Melody G Anderson manderson@kjfesq.com
     x   Katrina M Brown kbrown@pskbfirm.com
     x   Matthew L Eanet matt@eanetpc.com, sara@eanetpc.com
     x   Angela Gill angela.gill@usdoj.gov
     x   Barry S Glaser bglaser@salvatoboufadel.com,
         gsalvato@salvatoboufadel.com;Jboufadel@salvatoboufadel.com;gsalvato@ecf.courtdrive.com
     x   David W. Meadows david@davidwmeadowslaw.com
     x   Kelly L Morrison kelly.l.morrison@usdoj.gov
     x   Giovanni Orantes go@gobklaw.com, gorantes@orantes-
         law.com,cmh@gobklaw.com,gobklaw@gmail.com,go@ecf.inforuptcy.com;orantesgr89122@notify.bes
         tcase.com
     x   Matthew D. Resnik Matt@rhmfirm.com,
         roksana@rhmfirm.com;rosario@rhmfirm.com;sloan@rhmfirm.com;priscilla@rhmfirm.com;rebeca@rh
         mfirm.com;david@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;russ@rhmfirm.com
     x   Gregory M Salvato gsalvato@salvatoboufadel.com,
         calendar@salvatolawoffices.com;jboufadel@salvatoboufadel.com;gsalvato@ecf.inforuptcy.com
     x   United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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 Attorney or Party Name, Address, Telephone & FAX                     FOR COURT USE ONLY
 Nos., State Bar No. & Email Address


                                                                                                 FILED & ENTERED

                                                                                                        SEP 22 2023

                                                                                                   CLERK U.S. BANKRUPTCY COURT
                                                                                                   Central District of California
                                                                                                   BY johnson DEPUTY CLERK




      Individual appearing without attorney
      Attorney for:

                                     UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

 In re:                                                               CASE NO.: 2:23-bk-12747-VZ
 Jong Uk Byun,                                                        CHAPTER: 11


                                                                          ORDER GRANTING MOTION TO APPROVE
                                                                          ADEQUACY OF DISCLOSURE STATEMENT

                                                                          [11 U.S.C. § 1125; FRBP 3017; LBR 3017-1]

                                                                      Hearing Information
                                                                  DATE: September 14, 2023
                                                                  TIME: 11:00 a.m.
                                                                  COURTROOM: 1368, Roybal Federal Building
                                                       Debtor(s). ADDRESS: 255 E. Temple Street, Los Angeles, CA 90012


1. Disclosure Statement: Pursuant to FRBP 3016(b), a Disclosure Statement and Plan of Reorganization (the “DS and
   Plan”) was filed as docket entry # 69. The DS and Plan are combined into one document to avoid contradiction and
   confusion. Sections I – VII and XI of the DS and Plan constitute the disclosure statement (the “DS”) and sections
   VIII – X of the DS and Plan constitute the Plan. On September 21, 2023, the Debtor filed an Amended Disclosure
   Statement and Plan (“First Amended DS and Plan,” docket #118) and a Notice of Revisions Reflected in First
   Amended Disclosure Statement and Plan (“Notice of Revisions,” docket #119).

2. Motion to Approve Disclosure Statement: Pursuant to FRBP 9014(a), the Debtor filed a motion requesting that the
   court approve the adequacy of their disclosure statement (“Motion to Approve DS,” docket entry #106). The Motion
   to Approve DS was served on the U.S. trustee as required by FRBP 9034(h).

3. Hearing on Motion to Approve Disclosure Statement: The Motion to Approve DS was heard on 21 days of notice
   pursuant to LBR 9013-1(d). In addition, pursuant to LBR 3017-1, on (date) July 11, 2023 a Notice of Hearing on
   Adequacy of Disclosure Statement (docket #70) was filed and served to provide at least 42 days of notice of the
   hearing to the U.S. trustee and to all claimants and parties in interest.

4. Appearances: Appearances by parties and counsel are noted on the record.


                       This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

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5. Order: Based on the findings and conclusions made on the record at the hearing, IT IS ORDERED:

   a. The Motion to Approve DS is GRANTED, as reflected in the First Amended DS and Notice of Revisions.
      Specifically, as to the San Bernardino County Tax Collector, in accordance with its proof of claim (No. 7-1)
      the Debtor agrees that the amount necessary to cure any default as of the date of the petition is $89,101.04
      while the portion of that which is secured is $81,590.14 and the portion of that which is unsecured is
      $7,510.90.

   b. Dates and Deadlines. The following dates and deadlines are set, related to a hearing on a Motion to Confirm
      Plan of Reorganization (“Motion to Confirm Plan”), using forms posted on Judge Zurzolo’s page of the court
      website under the “Chapter 11” Tab, and Chapter 11 Forms for use by Nonindividual Debtors and by Individuals
      with Substantial Nonconsumer Debt:

        1. Hearing: (Date) December 14, 2023 at (Time) 11:00 a.m. is set for a hearing on a Motion to Confirm Plan;

        2. Notice of Hearing: (Date) October 3, 2023 is the deadline for the Debtor to file and serve (on all creditors and
           the U.S. trustee) the First Amended DS and Plan and this court’s form titled:
           “VZ CH11.NOTICE.DEADLINES.PLAN;

        3. Ballots: (Date) November 3, 2023 is the deadline for claimants who are entitled to vote, to submit a ballot;

        4. Preliminary Objections: (Date) November 3, 2023 is the deadline for claimants and other parties in interest to
           file and serve a preliminary objection to confirmation of the Plan;

        5. Motion to Confirm Plan: (Date) November 17, 2023 is the deadline for the Debtor to file and serve a Motion to
           Confirm Plan. The Debtor must use this court’s form titled: “VZ CH11.MOTION.PLAN, which must be
           supported a declaration as to the level at which the Plan is accepted;

        6. Written Response: (Date) November 30, 2023 is the deadline for the claimants and parties in interest to file a
           written response to the Motion to Confirm Plan; and

        7. Reply: (Date) December 7, 2023 is the deadline for the Debtor to serve and file a reply to any written response
           to the Motion to Confirm Plan.



                                                                          ###




               Date: September 22, 2023




                       This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:1801
Century Park East, Suite 1201, Los Angeles, CA 90067.

A true and correct copy of the foregoing documents entitled MOTION TO CONVERT CHAPTER 11 CASE TO
CASE UNDER CHAPTER 7 OF THE BANKRUPTCY CODE; MEMORANDUM OF POINTS AND
AUTHORITIES IN SUPPORT THEREOF; DECLARATION OF DAVID W. MEADOWS IN
SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the form and manner required by
LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. 11/20/23, I
checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons
are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

    Please see next page.



                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:

On ______________, I caused to be served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.



                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 11/20/23, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

 Honorable Vincent P. Zurzolo (Via Messenger)                                 The Debtor: (via FedEx)
 United States Bankruptcy Court                                               Jong Uk Byun
 255 E. Temple Street, Suite 1368                                             3439 Padua Avenue
 Los Angeles, CA 90012                                                        Claremont, CA 91711




                                                                                            Service information continued on attached page



I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  11/20/2023                       David W. Meadows                                              /s/ David W. Meadows
  Date                            Printed Name                                                   Signature
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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1.   Continued:


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            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
